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      Assistant United States Attorney                                        ,.. ,1
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          Los Angeles, California 90012
    8     Telephone: (213) 894-0609

    9                      UNITED STATES DISTRICT COURT

                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
   10
        SITED STATES OF AMERICA,      )      No. CR 87-422(G)-ER
   11
                      Plaintiff,      )      GOVERNMENT'S PROFFER RE:
   12                                        WITNESS GUILLERMO FLORES:
                      v•              )      MEMORANDUM OF POINTS AND
   13                                        AUTHORITIES
        ~'FAEL CARO-QUINTERO, et al.~
   14
                      Defendants.     )
   15

   16                              ~
   1~      Plaintiff, United States of P,merica, through its counsel of

   ig record, hereby files, as requested by the court, a proffer

        regarding the anticipated testimony of witness Guillermo Flores.
   19
   ~ This proffer is based upon the attached Memorandum Of Points and

         uthorities, the files and records in this case, and such other
   21

   22 //
   ~ //

   ~ //

   25                                            3   ~...:. ~--~-
                                            N ~'"
                                          . ~~ ~.
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   28                                                                                      ~~
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   1 1 matter as may properly be considered by the court at the time of
   2 the hearing on this motion.
   3       DATED:   December ~, 1992.

   4                                   Respectfully submitted,

   5                                   TERREE A. BOWERS
                                       United States Attorney
   6
                                       ROBERT L. HROSIO
   7                                   Assistant United States Attorney
                                       Chief, Criminal Division
   8
   9                                                           ^~_~
   10                                  MANUEL A. MED   O
                                       Assistant United States Attorney
   11                                  Chief, Asset Forfeiture Section

   12
   13                                                      v
                                            L.     TON
   14                                      stant United States Attorney
                                           ty Chief, Narcotics Section
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   3                           PRELIMINARY STATEMENT

   4       On December 3, 1992, the court ordered the government to

   5 sub~ait a written proffer of the anticipated testimony of witness

   6 Guillermo Flores.     Described below is a summary of the witness'

   7 anticipated testimony, as well as the government's theories of

   8 admissibility for any statements that the defense may endeavor

   9 to characterize as hearsay.

  10                                     II

  11                   SiJNIIKARY OF WITNESS GUILLERMO FLORES

  12       Guillermo Flores is 29 years old and a Mexican national.         He

  13 . was member of the Mexican army from 1980 until early 1992.

  14       Flores will testify that in approximately October, 1984, he

  15 and other soldiers traveled to the state of Jalisco to

  16 participate in one week of military Olympics.         Approximately

  17 fourteen squads from all over Mexico participated in the

  18 Olympics.    At the end of the Olympics, Flores and other soldiers

  19 , received orders directing all squads to participate in a

  20 marijuana eradication program called "Operation Jaguar."          Flores

  21 was one of two lieutenants in charge of a squad; he and a second

  22 ~
     I lieutenant reported to Captain Francisco Rodrigo Rodriguez-

  23 Galindo.    Flores' squad was assigned to eradicate marijuana in

  24 the region of Mascots.

  25       Flores' squad arrived in Mascots in early November, 1984.

  26 ' Flores' orders were to find and eradicate marijuana fields,

  27 j arrest and question those involved, and attempt to ascertain the

  28
                                        -3-
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                  i                             ~




   1 ownership of the marijuana fields.        Upon arrival in Mascota,

   2 Flores and his squad immediately discovered large fields of

   3 marijuana.       The squad arrested workers in the fields and

   4 questioned them regarding ownership of the marijuana fields.

   5 The workers stated that the fields belonged to Ruben Zuno-Arce

   6 ("Zuno").        One of the individuals arrested and questioned was a

   ~ local village mayor, who also stated that the land and marijuana

   g fields belonged to Zuno.

   g       Thereafter, Captain Rodriquez, Flores and several soldiers

  10 ~►ent to Zuno's ranch in Mascots to talk to Zuno.        Flores advised

  11 Captain Rodriquez that Zuno was the brother-in-law of ex-

  12 President Luis Echeverria, and that the matter should be handled

  13 delicately.        Zuno was not present when Flores and Rodriquez

  14 arrived, and Rodriquez ordered Flores to continue eradicating

  15 marijuana fields.

  16      Flores took some soldiers and returned to the area around

  1~ Mascots, and continued searching for and eradicating marijuana

  18 fields.     The soldiers and Flores also continued arresting and

  19 ~estioning field workers, who uniformly continued to state that
   ~ the fields belonged to Zuno.        Approximately two days later,

                                                             Rodriguez
   21 Flores returned to the town of Mascots and saw Captain
                                                     Afterwards Flores asked
   22 speaking to Zuno.       Zuno appeared tense.

                                           arrested Zuno.        Rodriguez
   23 Captain Rodriguez why he had not yet
   ~ said that he was awaiting orders, and was continuing to

   25 investigate the matter.      The next day Flores observed the local

   26 village mayor, whom he had previously arrested, walking in
   27 Mascots.   Flores again asked Captain Rodriguez why he had not

   28                                    -4-
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    1 1 arrested Zuno.      Rodriquez angrily responded that he had been

    2 ordered from higher up that there were to be no problems with

    3 Zuno.         Rodriguez admonished Flores to just go about his business

    4 and he [Flores] also would receive a little gift.         Rodriguez

    5 then showed Flores an unknown quantity of bills.

    6         Later that same day, Flores saw Zuno with Captain Rodriguez

    7 at an airplane hangar.        Zuno offered to Captain Rodriguez the

    8 use of Zuno's plane to see if there were anymore marijuana

    9 fields around Mascota.        Rodriquez accepted Zuno's offer.   This

   10 seemed odd to Flores because army personnel generally were only

   11 allowed to fly when authorized by Mexico City, and even then

   12 only in Mexican military planes.          Thereafter, Rodriguez ordered

             to take some men and continue to look for more marijuana
   13 Flores

   14 fields.

   15 I       While out eradicating more marihuana fields, the previously

          arrested field workers told Flores that the military in Mascots
   16 I
          was on the traffickers' payroll.      While eradicating a large
   17
          marijuana field, Flores received radio orders from Captain
   18
      Rodriguez to return immediately to Mascots because everyone was
   19

   20 to return to Guadalajara.        Flores complained to Rodriguez that

          he was not yet finished destroying a giant marijuana field, and
   21
          that if he returned he would not be able to complete his
   22
          mission.    Captain Rodriguez angrily replied that that did not
   23
          matter and that Flores was to return immediately.     Flores left
   24
          the area with his men and left numerous fields of marijuana
   25
          behind.
   26

   27

   28                                     -5-
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   1       Upon Flores' arrival in the town of Maacota, he saw Zuno

   2 talking and joking with Captain Rodriquez near a hangar.          Zuno

   3 now looked relaxed.      Thereafter, Flores and his entire squad

   4 were ordered to return to Guadalajara.

   5                                     III

   6

   7




   9       A.   The Testimony Is Relevant

   10           The indictment alleges that defendant Zuno was a member

   11 of the Guadalajara Narcotics Cartel.       The Flores testimony helps

   12 I to establish the nature of his membership.      At the last trial,

   13 defendant Zuno argued that there was no substantial evidence

   14 that he was a trafficker, and therefore no reason to believe

   15 that he would have been involved with the cartel.        Flores'

   16 testimony rebuts such an argument.       A jury may infer from such

                                                     involved in the
   17 testimony that defendant Zuno was a trafficker

   18 sale and distribution of vast amounts of marijuana.         In

   19 conjunction with other evidence to be presented that defendant

   20 Zuno socialized with cartel leaders and directly participated in

   21 the conspiracy to kidnap Agent Camarena, the Flores testimony
                                                            to the
   22 clarifies the nature of defendant Zuno's relationship

   23 cartel: he was a co-trafficker.      To the extent that defendant

                                                                serves
   24 Zuno can be seen as a cartel member, the Flores testimony

   25 to define the cartel's operations.       Thus, such testimony is

   26 ( relevant.

   2?      B.   The Testimony Cannot Be Excluded On Hearsay Grounds

   28                                   -6-
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   1              1.    The Workers Statements Are Admissions

   2        The statements of the workers in the marijuana fields to

   3 Flores are non-hearsay in that they are admissions of a party-

   4 opponent.      Fed. R. Evid. 801(d)(2)(Dj provides in relevant part:

   5 "A statement is not hearsay if -- * * * (2) The statement is

   6 offered against a party and is * * * (D) a statement by the

   7 party's agent or servant concerning a matter within the scope of

   8 the agency or employment, made during the existence of the

   9 relationship           ."

   10       Here, Flores' orders were to find and eradicate marijuana

   11 fields, arrest and question those involved, and attempt to

   12 ascertain the ownership of the marijuana fields.        Flores

   13 questioned workers in the fields as part of his official duties.

   14 In response to Flores' questions about who owned the marijuana

   15 fields, worker after worker responded pZuno."        The workers'

        statements were corroborated by the village mayor who also
   16
        stated that Zuno owned the fields.
   17

   18       The workers' statements were made during the course of their

                       They were tending to the marijuana fields when
   19 employment.

   20 Flores arrived; Flores arrested and questioned them there.          The

        workers statements concern a matter within the scope of their
   21
        employment, i.e., the identity of their employer.
   22
            "The fact of agency may not be proved by the alleged agent's
   23
        extrajudicial statements."     United States v. Jones 766 F.2d 412,
   24
          (9th Cir. 1985).       Here, the agency is established by
   25 415
        , independent non-hearsay:   Flores observed the workers tending to
   26
        j the marijuana fields, cultivating the soil and caring for the
   27

   28                                    -7-
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   1 plants.     The worker's statements implicating defendant Zuno

   2 aside, there is no question that the workers were at the fields
   3 performing work.
   4        Flores' observations and the workers' statements other than

   5 those identifying their employer, suffice to establish agency.
   6 In United States v. Jones, a victim making a ransom drop in
   7 response to defendant's extortion threats was allowed to testify
   8 about the statements made by two strangers who approached her
   9 and demanded the money.      United States v. Jones, supra, 766 F.2d

   10 at 415 (9th Cir. 1985).     The court found that "[t]his

                                                suggests that [the two
   11 independent non-hearsay evidence strongly
                                          the extortionist and were
   12 strangers] had been in contact with
                                          namely, the pick-up of the
   13 performing functions on his behalf,
                        Ibid.   The court concluded that this constituted
   14 ransom money."
                                              [the two strangers]. were
   15 "'substantial' evidence indicating that
        agents of [defendant] and that their statements were made during
   16
        the existence of their agencies concerning matters within the
   17
               their agencies."      Ibid.    The agents' statements were
   18 scope of
                properly admitted as admissions of a party-opponent,
   19 therefore
   20
        the time of trial.   Ibid.
   21
            Flores' testimony is no different than that admitted into
   22
        evidence in Jones.   The agency is established by Flores'
   23
   ~ observations of who was at the marijuana fields, and what he saw

        them doing.   The worker's statements are therefore admissible as
   25
        admissions of a party-opponent.
   26
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   28                                   -8-
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   11      Indeed, even if the field workers' statements were made

   2 without personal knowledge of their accuracy, they are

   3 admissible.     Fn3C v. First Interstate Bank of Des Moines, 885

   4 F.2d 423, 435 (8th Cir. 1989) (Employee's statement that another

   5 employee was stealing bonds admissible against employer sued for

   6 loss regardless of declarant's personal knowledge of accuracy of

   7 statement.)     "As a general matter, employee statements made

   8 against the interest of an employer are representative

   9 admissions and are admissible [under] Fed. R. Evid.

  10 801~d) ~Z~ CD).~~   ~.

   11      Thus, the workers' statements to Flores are admissible under

   12 the general proposition that:      "Evidence of statements by an

   13 agent introduced in order to show the purpose for which he did

   14 an act or to show his knowledge or state of mind is admissible

   15 in favor of and against the principal under the rules relating
                                               purpose.        Statements by
   16 to the introduction of evidence for this
                                                   agent.         If his
   17 an agent are not excluded because made by an
                                                            to the
   18 knowledge or condition of mind or purpose is relevant

   19 cause of action which is being brought, either party may

  20 introduce evidence relevant to show this."         Garford Truckina

                                                          denied, 68
   21 Corg v. Mann 163 F.2d 71, 71 (1st Cir. 1947), cert.
                                            Restatement of Agency
   22 S.Ct 112, 332 U.S. 810 (1947), citing

   23 §289, comment c.

   24      Here, the workers' knowledge, condition of mind and purpose

   25 in tending to the marijuana fields are relevant in that they
                                                           cartel.      The
   26 '~ evidence defendant Zuno's involvement in the drug

   27

   28                                   -9-
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    1 workers' statements reinforce other evidence that defendant Zuno
    2 was a member of the cartel.
    3            2.   The Workers' and Vii~age Mayor's Statements Were

    4                 Made Against Their Penal Interest And Are

    5                 Therefore Admissible

    6      The marijuana field workers' and village mayor's statements

    7 to Flores were made at the time of their respective arrests.
    8 The statements were against penal interests in that they showed
    9 knowledge of involvement in illegal activities.        The statements

   10 are therefore admissible under Fed. R. Evid. 804(b), which

   11 provides in relevant part:      "The following are not excluded by

   12 the hearsay rule if the declarant is unavailable as a witness:
   13 * * * (3) Statsaent against interest.       A statement which was at

   14 the time of its making so far contrary to the declarant's
   15 pecuniary or proprietary interest, or so far tended to subject
                                                                that a
   16 I the declarant to civil or criminal liability
                                                    would not have
   17 reasonable person in the declarant's position
   18 made the statement unless believing it to be true."
   19      The workers and village mayor are unavailable as required by

   20 Fed. R. Evid 804(a)(5).      They are absent from the trial, and the

   21 government has been unable to procure their attendance or
                                               means.         In Unite
   22 testimony by process or other reasonable
                                                        court held
   23 States v. Winn, 767 F.2d 527 (9th Cir. 1985), the
                                                            Mexican
   24 that the government established unavailability of two
                                                               because
   25 foreign nationals who were released after interrogation,
                                                             foreign
   26 the government had no reasonable means of locating the
                                                                    ~d. at
   27 nationals who had been returned to Mexico by the INS.
   28                                   -10-
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    1   530.     Indeed, the court held that because "the government had no

    2 addresses or any other information that would help locate [the

    3 witnesses]            it was reasonable for the government to make no

    4 effort to find the two aliens."      ~~, (emphasis added).

    5       The Winn court held that the foreign nationals' statements

    6 were admissible, and did not violate the confrontation clause
                  individuals were unavailable, and because the
    7 because the
        statements were not unreliable.     ~,~.    The court considered
    8
           factors to determine whether a statement is unreliable: "1)
    9 four
        the statement contains an assertion of past fact; 2) the
   10
        declarant did not have personal knowledge of the facts asserted;
   11
        3) there is a possibility of faulty recollection, and 4) the
   12
        circumstances suggest that the declarant misrepresented
   13
        defendant's role." Ibid, citing button v. Evans, 400 U.S. 74,
   14
        88-89; 91 S.Ct. 210, 219-220 (1970).
   15
            Here, the government has no way to identify the marijuana
   16
        field workers or the village mayor.     They are therefore
   17
        unavailable.    Neither are their statements unreliable when
   18
        judged by the above four-part test.     None of the witnesses made
   19
        statements about past facts.    The workers who tended to the
   20
        marijuana fields certainly knew for whom they were working, and
   21
        it is unlikely that the small village mayor would not also know
   22
        this information.    Finally, there are no circumstances
   23
        suggesting that worker after worker misrepresented defendant's
   24
        role.    They had no motive to do so, neither did the village
   25
        mayor.
   26

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   28                                   -~~-
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              The declarant' statements to Flores were thus made under

          circumstances that guarantee their trustworthiness.     The

          individuals were facing arrest by Mexican military personnel;

          they were interrogated as to their knowledge about the marijuana

          field, and the extent of their own involvement in the fields.

          The workers knew who owned fields.      Over and over the workers

                                            defendant Zuno.   The village
    7 gave the same name to Flores:
                                              the owner of the
    8 mayor also pointed to defendant Zuno as

    9 marijuana fields.       It stretches credibility to believe that

                                              everyone pointed to the
   10 everyone could have been wrong, and yet
                         defendant Zuno.    These circumstances guarantee the
   11 same person:
       rustworthiness of the statements.          Flores should therefore be
   12 t
              to testify about what the workers told him at the time
   13 allowed
               interrogation and arrest.
   14 of their
                   3.    The Statements Are Not Offered For The Truth Of
   15
                         The Matter Asserted
   16
              The marijuana field workers' and village mayor's statements
   17
          are not hearsay because they are not offered for the truth of
   18
          the matter asserted.   Whether defendant Zuno owned these
   19
                 marijuana fields is irrelevant.          The fact that the
   20 particular
          .workers connected defendant Zuno to owning vast marijuana fields
   21
          l is the important point.
   22
              The workers' and village mayor's statements have independent
   23
          probative value to prove defendant Zuno's involvement in drug
   24
          trafficking, regardless of whether defendant Zuno in fact owned
   25
          these particular marijuana fields.      That individuals repeatedly
   26 I
          im licated defendant Zuno in the context of owning marijuana


   ~ ~~                                    -12-
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    11 fields has independent relevance, ~akinq the statements
    2 admissible.    United States v. Candoli, 496 F.2d 496, 508

    3 ("Because [unavailable witness'] statement was not admitted for
    4 the truth of the matter asserted, it vas not hearsay.         It was

        properly admitted by the district court if it was relevant.")

    6 These statements reinforce other evidence that defendant Zuno
    7 was a member of the drug cartel that blamed DEA for forcing the
    8 Mexican military to destroy the traffickers' marijuana fields.
    9 The drug cartel retaliated against DEA by kidnapping and
   10 murdering Agent Camarena.      Relevance is therefore established.

   11      Furthermore, because the statements are not admitted for the

   12 truth of the matter asserted, there is no confrontation clause
   13 problem.    United States v. Kirk, 844 F.2d 660, 663 (9th Cir.

   14 1988) ("Because the statements were not offered for the truth of
   15 the matter asserted, no confrontation clause violation
   16 occurred."); United States v. Castro, 887 F.2d 988, 1000 (9th
   17 Cir. 1989) (credit reports nat hearsay because not introduced
   la for truth of their contents, and there was therefore no

   19 violation of confrontation rights).

   20      Moreover, regardless of the truth of the field worker's and

   21 ' village mayor's statements, the Mexican army had independent

   22 information connecting defendant Zuno to the marijuana fields.

   23 To stay in line with their mission, the army should have

   24 arrested defendant Zuno for his involvement in the marijuana

   25 fields.    They did not.    Instead, the army captain in charge of

   26 the mission reacted angrily when Flores pursued the issue, and

   27 later the captain told Flores that he, too, would be generously

   28                                   -13-
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    11 compensated for 'going along.'      Ultimately, the Mexican army

    2 shirked its mission by pulling out of Mascots, rather than

    3 arresting defendant Zuno and destroying the marijuana fields.

    4       The deliberate inaction of the Mexican army, the reaction of

    5 the army captain to Flores' insistence that they destroy all of

    6 the marijuana fields, and Flores' observations of defendant Zuno

    7 with the captain all show that defendant Zuno exercised powerful

    8 influence to protect the marijuana fields.        These facts evidence

    9 that defendant Zuno was a leader in the drug cartel who

   10 exercised influence at the highest levels to protect his vast

   11 marijuana fields.

   12       In light of this independent evidence, the workers' and

   13 village mayor's statements should be admitted as non-hearsay,

   14 because they are not offered for the truth of the matter

   15 asserted.    The statements are relevant regardless of truth, in
                                       evidence tying defendant Zuno
   16 that they are part of the web of
               trafficking and the drug cartel.
   17, to drug

   18 ///

   19 ///

   20 ///

   21 ///

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    1      For the foregoing reasons, the Court should allow Flores to

    2 ( testify as to the statements made by the marijuana field workers

    3 and the village mayor.
    4      DATED:    December ~,1992.

    5                                  Respectfully submitted

    6                                  TERREE A. BOWERS
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    7
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    8                                  Assistant United States Attorney
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    9
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  1                                  CERTIFICATE OF SERVICE
  2         I~     John L. Carlton                            ~ deCl8te:

  3         That'I am a citizen of the Onited States and resident or employed
  4     in Los Angeles County, California; that my business address is Office
  5     of United States Attorney, United States Courthouse, 312~North Spri-ng~
  6     Street, Los Angeles, California 90012; that z am over the age of

  7     eighteen years, and am not a party to the above-entitled action;
  8         That I am employed by the United States Attorney for the Central
  8    i District of California who is n member of the Bar of the United
 10     States District Court for the Central District of California, at
 11     whose direction the service by hand described in this Certificate
~ 12    was made; that on       December 9, 1992          , I hand delivered, in

 13     the above-entitled action,       n copy of
 14      GOVERNMENT'S PROFFER RE: WITNESS GUILLERMO FLORES:
         MEMORANDUM OF POINTS AND AUTHORITIES
 15

 18    I addressed to    SEE ATTACYIED LIST

 17

 18

 19

 ZO
            This Certificate is executed on          December 9, 1992      at Los
 21
       Angeles, California.
 22
            I certify under penalty of perjury that the foregoing is true
 23
       h and correct.
 24



 26



 28    USA-40-12-5
       (Rev. 08/12/83)
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                                      SERVICE LIST
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